            Case 2:12-cv-03555-CDJ Document 244 Filed 03/19/19 Page 1 of 2


                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA ex rel.,
 STEPHEN A. KRAHLING and JOAN A.                 Civil Action No. 10-4374 (CDJ)
 WLOCHOWSKI,
                 Plaintiffs,
                v.
 MERCK & CO., INC.,
                  Defendant.

 IN RE: MERCK MUMPS VACCINE                      Master File No. 12-03555 (CDJ)
 ANTITRUST LITIGATION

 THIS DOCUMENT RELATES TO:
 ALL ACTIONS

                                          ORDER

       AND NOW, this       19th   day of March, 2019, IT IS HEREBY ORDERED as follows:

       1.      Upon consideration of the Motion of Defendant Merck Sharp & Dohme Corp.,

       formerly known as Merck & Co., Inc., ("Merck") requesting permission to file under seal

       Merck's Opposition to Plaintiffs' and Relators' Motion to De-Designate and Unseal

       Portions of the Deposition of Dr. David Kessler (ECF No. 220), 1 that motion is

       GRANTED;

       2.      Upon consideration of Plaintiffs' and Relators' Motion requesting permission to

       file under seal their Reply Memorandum in Support of their Motion to De-Designate and

       Unseal (ECF No. 227), that motion is GRANTED;




       1  On December 6, 2018, Plaintiffs and Relators filed their Motion to De-Designate and
Unseal Portions of the Deposition of Dr. David Kessler. (ECF No. 205). By Order dated
January 8, 2019, the Honorable C. Darnell Jones II referred the matter to me for disposition
pursuant to 28 U.S.C. § 636(b)(l)(A).
                Case 2:12-cv-03555-CDJ Document 244 Filed 03/19/19 Page 2 of 2



           3.      Upon consideration of Plaintiffs' and Relators' Letter Motion requesting

           permission to file under seal their Letter in further Support of their Motion to Unseal

           (ECF No. 237), that motion is GRANTED;

           4.      Upon consideration of Defendant Merck's Letter Motion requesting permission to

           file under seal its Letter in Response to Plaintiffs' and Relators' Third Letter in Further

           Support of their Motion to Unseal (ECF No. 241), that motion is GRANTED.

           IT IS HEREBY FURTHER ORDERED that the parties in this matter shall refrain

from submitting further letters to the Court in support of their respective position on the pending

Motion to De-Designate and Unseal (ECF No. 205) without first seeking permission from the

Court. 2

                                                  BY THE COURT:


                                                  di;
                                                  L~ARSKI
                                                                    A~
                                                  UNITED STATES MAGISTRATE JUDGE




          The matter has been fully briefed by the parties. (PL 's Br. in Supp., ECF No. 205-2;
           2

Def.'s Resp. in Oppos., ECF No. 221; Pl.'s Reply in Supp., ECF No. 228). Nonetheless, the
parties have submitted numerous letters to the Court providing supplemental argument and
various authority advocating for their respective positions. (ECF Nos. 234, 235, 236, 238, 239).
Such letter practice is improper. Should counsel wish to submit further supplements after a
properly submitted Brief, Response, and Reply, counsel shall first seek permission to do so. My
policies and procedures provide that I "will not normally permit surreply briefs, and counsel who
wish to file a surreply must first seek permission of the Court before such a brief will be
accepted." JUDGE SITARSKI'S GENERAL POLICIES & PROCEDURES, available at
https ://www. paed. uscourts. gov/documents/procedures/sitpol. pdf.

                                                     2
